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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 ISAAC W. SANDERS,                :              No. 3:18-CV-1423
                        Plaintiff :
                                  :              Judge Caputo
              v.                  :
                                  :              Electronically Filed Document
 PENNSYLVANIA’S STATE SYSTEM :
 OF HIGHER EDUCATION, et al.      :              Complaint Filed 07/17/18
                     Defendants :


                                     ORDER
      AND NOW, this              day of                    ,     2019,       upon

consideration of the Defendants’ Motion for Enlargement of Time to File a Brief in

Support of its Motion to Dismiss, it is hereby ORDERED that the Motion is

GRANTED.

      Defendant shall file a brief in support by July 1, 2019.



                                       A. Richard Caputo
                                       United States District Judge
